       Case 3:18-cv-05139-BHS-DWC Document 105 Filed 11/02/18 Page 1 of 3



1                                                          Honorable Judge Benjamin H. Settle
                                                           Honorable Judge David W. Christel
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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE
9    JESUS CHAVEZ FLORES,
                                                         No. 3:18-cv-05139-BHS-DWC
10                                 Plaintiff,
                                                         DECLARATION OF THERESA M.
11          v.                                           DEMONTE IN SUPPORT OF
                                                         PLAINTIFF’S REPLY TO ICE
12   UNITED STATES IMMIGRATION AND                       DEFENDANTS’ RESPONSE TO
     CUSTOMS ENFORCEMENT, et al,                         MOTION SEEKING LEAVE TO
13                                                       FILE THIRD AMENDED
                                   Defendants.           COMPLAINT
14
                                                         RE-NOTED FOR: November 2, 2018
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16          I, THERESA M. DEMONTE, declare under penalty of perjury of the laws of the

17   State of Washington that the following statements are true and correct and based upon my
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     personal knowledge:
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            1.      I am one of the attorneys of record for Plaintiff Jesus Chavez Flores in the
20
     above-captioned matter and am competent to testify to the matters set forth herein.
21
            2.      On June 8, 2018, GEO Defendants were served with Mr. Chavez’s First Set
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23   of Interrogatories and Requests for Production.

24          3.      As of today, November 2, 2018, complete responses have not been
25   received and counsel for GEO Defendants and counsel for Mr. Chavez have been
26
     ///
                                                                                      LAW OFFICES OF

     DECL OF T. DEMONTE ISO PL.’S REPLY TO FED.                          MCNAUL EBEL NAWROT & HELGREN PLLC
                                                                                600 University Street, Suite 2700
     GOV DEFS’ RESPONSE TO MOT. SEEKING LEAVE                                   Seattle, Washington 98101-3143
     TO FILE THIRD AMEND COMPLAINT – Page 1                                              (206) 467-1816
     (Cause No. 3:18-cv-05139-BHS-DWC)
      Case 3:18-cv-05139-BHS-DWC Document 105 Filed 11/02/18 Page 2 of 3



1    attempting to schedule a meet-and-confer with counsel for GEO Defendants.
2
            DATED this 2nd day of November, 2018., at Seattle, Washington.
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4                                       By: s/ Theresa M. DeMonte
                                               Theresa M. DeMonte, WSBA No. 43994
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                                                                                   LAW OFFICES OF

     DECL OF T. DEMONTE ISO PL.’S REPLY TO FED.                      MCNAUL EBEL NAWROT & HELGREN PLLC
                                                                             600 University Street, Suite 2700
     GOV DEFS’ RESPONSE TO MOT. SEEKING LEAVE                                Seattle, Washington 98101-3143
     TO FILE THIRD AMEND COMPLAINT – Page 2                                           (206) 467-1816
     (Cause No. 3:18-cv-05139-BHS-DWC)
            Case 3:18-cv-05139-BHS-DWC Document 105 Filed 11/02/18 Page 3 of 3



1                                        CERTIFICATE OF SERVICE
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                    I hereby certify that on November 2, 2018, I electronically filed the foregoing with
3
          the Clerk of the Court using the CM/ECF system, which will send notification of such
4
          filing to all counsel of record who receives CM/ECF notification.
5
                    DATED this 2nd day of November, 2018.
6

7
                                                  By: s/ Theresa M. DeMonte
8                                                        Theresa M. DeMonte, WSBA No. 43994

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                                                                                             LAW OFFICES OF

          DECL OF T. DEMONTE ISO PL.’S REPLY TO FED.                            MCNAUL EBEL NAWROT & HELGREN PLLC
                                                                                       600 University Street, Suite 2700
          GOV DEFS’ RESPONSE TO MOT. SEEKING LEAVE                                     Seattle, Washington 98101-3143
          TO FILE THIRD AMEND COMPLAINT – Page 3                                                (206) 467-1816
          (Cause No. 3:18-cv-05139-BHS-DWC)
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